        Case 1:21-cr-00158-RC Document 13 Filed 04/05/21 Page 1 of 10



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            )
                                    )                 CRIMINAL No. 1:21CR00158-KBJ
       v.                           )
                                    )                 Detention Hearing Date: April 6, 2021
Kyle Fitzsimons                     )
       Defendant                    )                 The Honorable G. Michael Harvey
____________________________________)

                       POSITION OF THE DEFENSE
          ON THE GOVERNMENT’S MOTION FOR PRETRIAL DETENTION
       In accordance with this Court’s policy regarding pretrial detention, and the

requirements of 18 U.S.C. §3142(f)(1)(A) and (E), Counsel for the Defendant hereby

represents that he and his client have reviewed the Pretrial Services Report and the

government’s Motion and Memorandum in Support of Pretrial Detention. We submit this

memorandum in support of Mr. Fitzsimons.

       As the Court is aware, Mr. Fitzsimons is charged in a ten-count indictment with

violations related to disorderly conduct, trespassing, and acts intended to obstruct and assault

police officers during the January 6 attack on the Capitol. The government alleges that Mr.

Fitzsimons was present at the attack and that he participated in the fight to control the

archway at the lower west terrace of the Capitol, and that his actions obstructed, impeded and

injured two of the law enforcement officers present while contributing to the obstruction of

an official proceeding.

        As Mr. Fitzsimons is entitled to a presumption of innocence and the government has

a high burden under the Bail Reform Act, we oppose the government’s motion. While no

defendant is guaranteed a right to bail, the Eighth Amendment to the United States

Constitution requires that bail not be excessive (see United States v. Salerno, 481 U.S. 739,

754-55 (1987)), and the laws imposing pretrial detention are themselves required to “serve a


                                                1
        Case 1:21-cr-00158-RC Document 13 Filed 04/05/21 Page 2 of 10



compelling government interest” under the Due Process Clause of the Fourteenth

Amendment. Following Chief Judge Howell’s recent analysis in of this Court’s

considerations regarding the Bail Reform Act and cases arising from the January 6, 2021

attack on the Capitol in the Chrestman Opinion, see United States v. Chrestman, Case No.

21-MJ-218(ZMF), it is our contention that Mr. Fitzsimons should be released pending trial.

                                          Argument

       While the United States has correctly stated Chief Judge Howell’s finding in the

Chrestman Opinion that “the actions of this violent mob, particularly those members who

breached police lines and gained entry to the Capitol, are reprehensible as offenses against

morality, civic virtue, and the rule of law,” they failed to mention that Chief Judge Howell

goes on to write in the very next paragraph that “nonetheless, not all of the rioters charged

with offenses stemming from the January 6 attack will be held pending trial” and that this

Court has not “uniformly granted the government’s requests for pretrial detention.” see

Chrestman, ibid, at 16, citing United States v. Powell, No. 21-mj-197-GMH (D.D.C. Feb. 11.

2021) and United States v. Griffin, No. 21-cr-92-TNM (D.D.C. Feb. 11, 2021). Merely

saying that there is no condition or combination of conditions that would protect the

community does not make it so.



       A. The Nature and Circumstances of the Offense Charged

       Mr. Fitzsimons is indeed charged with several offenses, including entry to the Capitol

grounds at a time when they were closed and violent, assaultive acts intended to impede law

enforcement and obstruct Congress. The government makes a point of noting that Mr.

Fitzsimons “prepared himself for battle both in apparel (butcher coat, rubber boots and apron,

unstrung bow) and in his actions that day,” without noting that Mr. Fitzsimons is a butcher


                                               2
        Case 1:21-cr-00158-RC Document 13 Filed 04/05/21 Page 3 of 10



who marched on the Capitol wearing the same apparel he wears to work every day, or

searching Google to see what an unstrung bow is meant to symbolize, let alone what it would

be good for without a string and arrows.

       In comparing Mr. Fitzsimons with the defendant in the Chrestman case, it is clear that

the allegations against him are significantly less serious than those leveled against others,

including Mr. Chrestman. Yes, he is charged with felony offenses, and the nature of felony

offenses weighs more heavily in favor of pretrial detention than do misdemeanors. And these

charges involve violence. But as Chief Judge Howell noted, the inquiry does not end there.

Mr. Fitzsimons is not alleged to have engaged in prior planning before arriving at the Capitol

or being an associate of any group that did, and he is not charged with possessing or using a

dangerous weapon during the riot. There is no allegation that he coordinated with other

rioters before, during or afterwards. He is not alleged to have had or assumed a leadership

role, he did not enter the Capitol Building, and he did nothing to destroy or conceal evidence.



       B. The Weight of the Evidence Against the Person

       The government’s case, as presented in their Memorandum and the Statement of

Facts attached to their Complaint, is compelling. By their account, Mr. Fitzsimons’ presence

at the Capitol and his interactions with police show his actions to have been assaultive and

aimed at impeding the officers and obstructing the Congress. Though they are certainly

allowed to make this argument, it is merely an allegation that they have to prove beyond a

reasonable doubt to a jury. It is no less likely that the Defendant will be found to have been a

peaceful protestor who acted to defend himself from the blows of police batons as he stood at

the front of the crowd.




                                                3
        Case 1:21-cr-00158-RC Document 13 Filed 04/05/21 Page 4 of 10



       In any event, he entitled to the presumption of evidence at this point, even if the

dangerous nature of the charges against him entitles the government to a presumption that he

should be held pending trial. The critical difference is that while the presumption the

government is entitled to is rebuttable, the presumption the Defendant is entitled to is not.



       C. The History and Characteristics of the Person

       Counsel is troubled by the government’s position on Mr. Fitzsimons’ history and

characteristics, and misstatements of facts given therein. Depending on a pretrial services

report written nearly two months ago in Maine, the government concludes that Mr.

Fitzsimons is an unemployed man whose 2008 conviction for driving under the influence and

2016 conviction for driving an unregistered motor vehicle present a “high risk of non-

compliance with any conditions, a significant danger to the community, and a flight risk.”

Furthermore, because Mr. Fitzsimons declined to be interviewed, the government agrees with

the United States Probation Officer that detention is warranted.

       This position ignores several salient facts. First, the Pretrial Services Report

generated in Maine is, at best, out of date. Upon advice of former counsel, the Defendant

declined to be interviewed or to ask for a detention hearing because he preferred to have this

Court hear his case for pre-trial release; Mr. Fitzsimons has since been interviewed by a

United States Probation Officer in this District, giving details about his employment as a

butcher in Maine. Second, there is nothing about convictions for driving under the influence

in 2008 or driving a car without a valid registration in 2016 that shows Mr. Fitzsimons was

anything but compliant with those courts then, let alone that he would not be compliant with

the orders of this Court now. He has never been convicted of a felony or any crime of

violence, and he has never failed to appear in court. According to §4A1.1 and §4A1.2 of the


                                               4
        Case 1:21-cr-00158-RC Document 13 Filed 04/05/21 Page 5 of 10



United States Sentencing Commission’s most recent Guidelines Manual, Mr. Fitzsimons

would have a single Criminal History Point and would be a Category I offender – the lowest

assessment of a defendant’s criminal history possible in our system.

        Most troubling for Defense Counsel is the government’s use of communications

between Mr. Fitzsimons and his wife to make their case. In an argument attempting to show

that the Defendant will not have a support network available to him upon release, a January 5,

2021 text message from the Defendant’s wife is quoted; based on that text message and

despite the words “if you[‘re] not going to change”…and “after this trip” (emphasis added)

the government believes that they know about Mr. Fitzsimons’ family life and assumes that

he would not have the support of family members if he were to re-enter the community while

awaiting trial.

        In fact, Mr. Fitzsimons does enjoy the support of his family. In addition to his wife,

he has several relatives in Maine who would volunteer to serve as third-party custodians, and

his aunt in New Jersey has offered to do so as well. Though the government makes

unfounded and uncharged allegations that Mr. Fitzsimons has acted in a threatening manner

in the past, his life in Maine – with the exception of the aforementioned 2008 DUI and 2016

vehicle registration matter – has been a law-abiding one. And were Mr. Fitzsimons allowed

to reside with his aunt, he would be in a home in suburban New Jersey that is several hours

closer to Washington and conveniently located near a United States Probation Office and all

of the services it could provide, including GPS monitoring.



        D. Nature and Seriousness of the Danger to Community

        Once again, the government cites Chief Judge Howell’s words in the Chrestman

Opinion to support their argument, despite significant differences in the allegations leveled


                                               5
        Case 1:21-cr-00158-RC Document 13 Filed 04/05/21 Page 6 of 10



against Mr. Fitzsimons. Citing notions that “grave concerns are implicated if a defendant

actively threatened or confronted federal officials or law enforcement, or otherwise promoted

or celebrated efforts to disrupt the certification of the electoral vote count during the riot,

thereby encouraging others to engage in such conduct” and that “defendant’s use of force to

advance toward the Capitol and his use of words to lead and guide the mob” shows Mr.

Chrestman to be especially dangerous, the government asserts that Mr. Fitzsimons is just like

Mr. Chrestman. See Chrestman, ibid at 13 and 30.

        Though the allegations against Mr. Fitzsimons are troubling, they are far less serious

than what Mr. Chrestman is alleged to have done. He was not a member of any group, let

alone a known leader of a notoriously dangerous group like Mr. Chrestman’s Proud Boys,

and he did not participate in any coordination, planning or communication with others during

the riot. He did not have a weapon and he did not lead others. Though the government cites

uncharged statements to politicians in their memorandum as proof of his dangerousness,

there is no allegation or evidence that he made any statements to lead or incite others during

the riot, or that his actions encouraged others to engage in violence. And as mentioned above,

he is entitled to the presumption that any video or testimony indicating that he made contact

with officers could also be seen as defensive in nature as he found himself pressed between

police and the crowd during a riot.

        In addition, the government’s assertion that “all of the release conditions available to

the Court depend – at least in part – on voluntary compliance” is certainly true. But there is

no evidence that Mr. Fitzsimons has ever failed to follow the orders of a judge, or that he has

ever been a danger to his community. His entire criminal record consists of a DUI and an

invalid registration charge, without any indication that he ever failed to attend every court

appearance or comply with any conditions imposed. As noted above, were this Court to


                                                 6
         Case 1:21-cr-00158-RC Document 13 Filed 04/05/21 Page 7 of 10



consider Mr. Fitzsimons’ criminal record in a sentencing hearing he would have a single

Criminal History Point and find himself in Criminal History Category I, among the least

serious offenders our system ever sees. And there is no indication that he has attempted to lie,

flee, destroy evidence, interfere with the government’s investigation or tamper with

witnesses in the instant case.

         Mr. Fitzsimons is prepared to comply with whatever conditions the Court feels

appropriate and live a law-abiding life pending trial, as he always has.



         E. Other Considerations

         Counsel also asks the Court to consider other factors that weigh towards releasing Mr.

Fitzsimons pending trial.

         First, the COVID crisis continues, and it is perhaps most dangerous within jails and

prisons. Though there have been reasons for hope, this Court is still mostly operating

remotely for safety. The provisions of the CARES Act allowing the Bureau of Prisons to

allow more than 10% of the federal prison population to be placed in home confinement are

still in place, and the DC Jail is no safer than it was months ago. If this Court sees this case as

a close one, we sincerely ask that our COVID concerns be considered in Mr. Fitzsimons’

favor.

         Second, a quick look at the docket report for this case shows that the government

moved for an unprecedented delay of their obligations under the Speedy Trial Act of an as

yet unknown duration shortly after making this motion for detention, and that they have

asked to have that time counted against the defendant for purposes of the Speedy Trial Act.

         Though there is no doubt that the government faces significant difficulties assembling

and sorting through evidence against hundreds of defendants, they have nonetheless made the


                                                7
        Case 1:21-cr-00158-RC Document 13 Filed 04/05/21 Page 8 of 10



choice to prosecute all of these cases simultaneously. Any delay in their readiness is a result

of that choice; there is no assertion that the evidence in Mr. Fitzsimons’ case is voluminous

or complicated, or that his conduct is part of a conspiracy involving other defendants who

should be tried together, just that the government cannot proceed in a timely fashion because

of the workload they have chosen to tackle all at once. Despite the cases and statutes they cite

in their motion, this Court has never held that delays due to the government’s choices and

complications with other cases are somehow demanded by the ends of Justice.

       Counsel does not argue that this could somehow be changed, or that the government

and their agents are not working diligently. The nature of criminal defense sometimes

demands that a lawyer tilt at a windmill. We simply ask that Court consider the

extraordinary pre-trial delay Mr. Fitzsimons faces when deciding whether he awaits trial

under supervision of a United States Probation Officer or in restricted confinement in a jail

hundreds of miles from home.




                                               8
        Case 1:21-cr-00158-RC Document 13 Filed 04/05/21 Page 9 of 10




                                              Conclusion

       Despite the government’s arguments and the allegations leveled against him, Mr.

Fitzsimons should not be held pending trial. Simply finding some similarities between these

allegations and Mr. Chrestman’s case does not make their cases similar; there is no question

that the allegations against Mr. Fitzsimons are significantly less serious. Outside of the

allegations in this case, there is no evidence that Mr. Fitzsimons has ever been a danger to

others on any other day in his life, and no evidence that Mr. Fitzsimons will not comply with

this Court’s orders or that he is a risk of flight. We respectfully ask that the Court release him

on whatever conditions the Court finds necessary.



                                                       Respectfully Submitted,

                                                       ___________/S/________________
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                                                9
       Case 1:21-cr-00158-RC Document 13 Filed 04/05/21 Page 10 of 10



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 5th day of April, 2021, an exact copy of the
foregoing Position of the Defense was filed with the Clerk of the Court using the CM/ECF
system, causing a Notice of Electronic Filing to be served upon:

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Copies of this document have been forwarded to the following non-filing users:
By First Class Mail:
       Kyle Fitzsimons
       Defendant
       DC Jail

                                                      ___________/S/________________
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                                             10
